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CSD 1101 [ /01/1 ]
Name, Address, Telephone No. & I.D. No.




             UNITED STATES BANKRUPTCY COURT
                  SOUTHERN DISTRICT OF CALIFORNIA
             325 West F Street, San Diego, California 92101-6991

 In Re



                                                                                      BANKRUPTCY NO.


                                                                     Debtor.



                              NOTICE TO CREDITORS OF THE ABOVED-NAMED DEBTOR
                               ADDED BY AMENDMENT OR BALANCE OF SCHEDULES

         You are hereby notified that the debtor is filing in this case a schedule or an amendment to the debtor's list of debts to
include you as a creditor of this estate. If you have questions concerning the legal effect of this filing upon you as a creditor, please
consult your own legal counsel. Neither the Court nor I may advise you on legal matters.

        You are further notified that on                    , the debtor filed a petition for relief under Chapter               , of the
United States Bankruptcy Code. [If applicable: The case was subsequently converted to a case under Chapter                         of the
Code on:                         .]

        As a result of the filing of the petition, you are notified that certain acts and proceedings against the debtor and
his estate are stated as provided in 11 U.S.C. § 362(a).

         Copies of notices indicated below are pertinent to this case and are enclosed with this notice.

                 Order for and Notice of Section 341(a) Meeting and/or Notice of Hearing on Objection to Confirmation of Chapter 13 Plan

                               Meeting and/or Hearing pending

                              Meeting and/or Hearing concluded

                              Meeting and/or Hearing continued to                            , at       .m.

                 Discharge of the Debtor

                 Order Fixing Last Date for Filing Claims and Proof of Claim (Form 410)

                 Order Confirming Plan

                 Other (specify)




Dated:                                                         Signed:
                                                                                          Debtor       Attorney for Debtor




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Information to identify the case:
Debtor
                Student Loan Advocacy Group, Inc.                                               EIN:   81−3399544
                Name

United States Bankruptcy Court       Southern District of California                            Date case filed for chapter:          7      2/14/19

Case number:        19−00762−LT7
Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                             12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        Student Loan Advocacy Group, Inc.

2. All other names used in the dba Student Loan Processing Center
   last 8 years
3. Address                                   10531 4s Commons Drive, Suite 579
                                             San Diego, CA 92127

4. Debtor's attorney                         Cheryl L. Stengel                                                    Contact phone 619−269−2126
                                             Law Office of Cheryl L. Stengel                                      Email clstengel@outlook.com
   Name and address                          110 West A Street
                                             Suite 750
                                             San Diego, CA 92101

5. Bankruptcy trustee                        Christopher R. Barclay                                               Contact phone 619−255−1529
                                             P.O. Box 2819                                                        Email: None
    Name and address                         La Mesa, CA 91943−2819

6. Bankruptcy clerk's office                 Jacob Weinberger U.S. Courthouse                                     Hours open
                                             325 West F Street
    Documents in this case may be            San Diego, CA 92101−6991                                             9:00am − 4:00pm
    filed at this address. You may
    inspect all records filed in this case
    at this office or online at                                                                                   Contact phone 619−557−5620
    www.casb.uscourts.gov.

7. Meeting of creditors                      March 19, 2019 at 8:00 AM                                            Location:
    The debtor's representative must
    attend the meeting to be                 The meeting may be continued or adjourned to a later date. If        Office of the U.S. Trustee, First Floor,
    questioned under oath. Creditors         so, the date will be on the court docket.                            Room 1234 (A), 880 Front Street, San
    may attend, but are not required to                                                                           Diego, CA 92101
    do so.

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.

Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                      page 1
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Debtor Student Loan Advocacy Group, Inc.                                                              Case number 19−00762−LT7

                         NOTICE OF APPOINTMENT OF INTERIM TRUSTEE
   An order for relief having been entered in the above−referenced case on 2/14/19, the following person is named Interim
Trustee of the estate of the debtor:


                                                      Christopher R. Barclay
                                                          P.O. Box 2819
                                                     La Mesa, CA 91943−2819

                                            TRUSTEE REQUIREMENTS
     Debtors and debtors' attorneys must review the Standing Administration Guidelines immediately to comply with the
production of supporting documentation of material represented in the Schedules and Statement of Financial Affair. Failure to do
so in a timely manner may result in continuances of Meetings and additional appearances. The Standing Administration
Guidelines are available on the internet at:

                         http://www.casb.uscourts.gov/trustee−guidelines−and−additional−requirements


                                                 DISMISSAL OF CASE
   Notice is given that this case will be dismissed if the debtor(s) fails to pay the filing fee pursuant to the Rules of Bankruptcy
Procedure 1006. This dismissal will occur without further notice.
    Furthermore, notice is given that if the Debtor fails to file schedules and statements or other documents required by the Rules
of Bankruptcy Procedure 1007, and/or 11 U.S.C. 521, or if the Debtor or Joint Debtor fails to appear at the §341(a) meeting that
the Court, Trustee or U.S. Trustee may move for dismissal of the case without further notice to the Debtor or Creditors. A party
in interest may object to the motion for dismissal at the §341(a) meeting, at which time a hearing on the objection will be
scheduled.

                                                BANKRUPTCY FRAUD
   If you have information regarding any bankruptcy fraud or abuse, please contact the United States Trustee in writing at 880
Front Street, 3rd Floor, Ste. 3230, San Diego, CA 92101 and/or by calling 619−557−5013.

                                                                                                                               page 2


                                                                                For the Court:
                                                                                Barry K. Lander, Clerk
                                                                                United States Bankruptcy Court
Dated: 2/15/19                                                                  Southern District of California
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 3.     Served by Personal Delivery, Facsimile Transmission                                or Electronic Mail:

        Under Fed.R.Civ.P.5 and controlling LBR, on                                 , I served the following person(s)
 and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method) by facsimile
 transmission                         and/or electronic mail as follows:




        I declare under penalty of perjury under the laws of the United States of America that the statements made in this
        proof of service are true and correct.


         Executed on
                                  (Date)                    (Typed Name and Signature)



                                                            (Address)



                                                            (City, State, ZIP Code)




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